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                           IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF DELAWARE

  JANE DOE,                                       :
                                                  :
                   Plaintiff,                     :
                                                  :
          v.                                      :       Case No. 1:17-cv-00053-RGA
                                                  :
  TRINITY LOGISTICS, INC.,                        :
  a Delaware corporation,                         :
                                                  :
  PINKERTON CONSULTING AND                        :
  INVESTIGATIONS,                                 :
  A Delaware limited liability company,           :
                                                  :
                   Defendants.                    :

                             STIPULATION OF DISMISSALS
                   AND CONSENT MOTION FOR APPROVAL OF DISMISSALS

          Plaintiff Jane Doe (“Plaintiff”) and Defendant Pinkerton Consulting & Investigations,

  LLC (“Defendant,” and collectively with Plaintiff, the “Parties”) hereby stipulate and agree to the

  following:

          1.       Plaintiff initiated this civil action against Defendant on January 19, 2017 (the

  “Litigation”).

          2.       Plaintiff’s Complaint, as amended, alleges individual and class claims against

  Defendant under the Fair Credit Reporting Act (“FCRA”).

          3.       Defendant denies the allegations made against it in the Litigation.

          4.       Plaintiff has dismissed all of her claims against co-defendant Trinity Logistics, Inc.

  with prejudice [Doc. Nos. 134 & 135], leaving only Plaintiff’s individual and class claims pending

  against Defendant in the Litigation.




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          5.      Plaintiff has filed a Motion for Partial Summary Judgment [Doc. No. 177] seeking

  a determination of liability against Pinkerton on claims asserted in the Litigation, but has not filed

  a Motion for Class Certification.

          6.      Pinkerton has filed a Motion for Summary Judgment [Doc. No. 183], which, if

  granted, would result in dismissal of all of Plaintiff’s individual and putative class claims asserted

  in the Litigation.

          7.      Defendant has filed an opposition to Plaintiff’s Motion for Partial Summary

  Judgment, and Plaintiff has filed an opposition to Defendant’s Motion for Summary Judgment.

          8.      Neither of the aforementioned motions has been ruled on, and no class has been

  certified.

          9.      This Litigation has not received media attention, and neither Plaintiff, nor

  Defendant, nor the Parties’ counsel have received communications regarding the Litigation from

  any persons purporting to be possible members of the putative classes. Because there is no

  evidence or reason to believe that putative class members are aware of this action, much less

  relying on Plaintiff’s prosecution of this case to champion their rights, Plaintiff and Defendant

  agree that no notice is required to be given to those who possibly could have been members of the

  proposed classes identified in the Litigation.

          10.     The Parties now wish to resolve all of their disputes without the burden, uncertainty,

  risk, and expense of continued litigation, and have reached a settlement of the Litigation.

          11.     The Parties, through their undersigned counsel, STIPULATE that Plaintiff hereby

  DISMISSES WITH PREJUDICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), all of her individual

  claims against Defendant, and hereby DISMISSES WITHOUT PREJUDICE all putative class




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  claims against Defendant. Each party shall bear its own fees and costs incurred in connection with

  the Litigation except as otherwise agreed to by the Parties.

               12.   The Parties, through their undersigned counsel, STIPULATE that Plaintiff, through

  this settlement, will recover the same approximate amount of damages that she could have

  recovered if her case had gone forward to judicial resolution in their favor. (See Declaration of

  Leonard Bennett, attached hereto as Exhibit 1.) Furthermore, Plaintiff, through her undersigned

  counsel, STIPULATE that Plaintiff and Plaintiff’s counsel have received no additional monetary

  consideration for filing this Stipulation of Dismissals. (See id.)

          13.        The Parties, through their undersigned counsel, STIPULATE that they are unaware

  of any persons other than Plaintiff who believe that they are aggrieved by Defendant’s actions.

  (See id.) Furthermore, the Parties STIPULATE, through their undersigned counsel, that the

  existence of this action has not become widely known, there has been no public reporting or

  dissemination of any information about this case other than what is available through public filing

  records, and they are unaware of any putative class member who has refrained from bringing a

  similar claim in reliance on the existence of this action. (See id.)

          14.        The Parties agree that this court shall retain jurisdiction to enforce the terms of this

  agreement pursuant to Kokkonen v. Guardian Life Ins. Co. Am., 311 U.S. 375 (1994).

          NOW THEREFORE, Plaintiff moves the Court, with Defendant’s consent, to grant her

  Consent Motion for Approval of Dismissals and issue an Order in the form of the proposed Order

  attached hereto as Exhibit “2,” approving Plaintiff’s Dismissal of all claims in this Litigation.

          IT IS SO STIPULATED.

  LAW OFFICE OF MARY HIGGINS, LLC
  /s/Mary Higgins
  Mary Higgins (ID #4179 )

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